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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

JOHN AND CAROLE LAYTON _ )
h/w ) Case Number
Plaintiffs
) CIVIL COMPLAINT
Vs. )
)
)
BUDZIK & DYNIA, LLC )
) JURY TRIAL DEMANDED
Defendant )
)

 

COMPLAINT AND JURY DEMAND

COMES NOW, Plaintiffs, Carole and John Layton, h/w, by and through their
undersigned counsel, Bruce K. Warren, Esquire, of Warren Law Group, LLC, complaining

of Defendant and respectfully avers as follows:

1 INTRODUCTORY STATEMENT

1. Plaintiffs, Carole and John Layton, h/w, (hereinafter “Plaintiffs”), are adult
natural persons and they bring this action for actual and statutory damages and other relief
against Defendant, for violations of the Fair Debt Collection Practices Act, 15 U.S.C. §
1692 et seq. (“FDCPA”), which prohibits debt collectors from engaging in abusive,
deceptive and unfair practices, violations of the Pennsylvania Fair Credit Extension
Uniformity Act, 73 P.S. § 2270.4 (“PFCEUA) and the Unfair Trade Practices and
Consumer Protection Law, 73 P.S. § 201-1-201-9.3 (“UTPCPL”) which prohibits debt
collectors and original creditors from engaging in abusive, deceptive and unfair practices

as well as violations of the TCPA and Invasion of Privacy.
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I. JURISDICTION

Z Jurisdiction of this court arises under 15. U.S.C. § 1692k(d) and 28 U.S.C.

$1337.
a3 Venue in this District is proper in that the Plaintiffs reside in this District.

Il. PARTIES

4, Plaintiffs, Carole and John Layton, h/w, are adult natural persons residing in
Philadelphia, PA. At all times material and relevant hereto, Plaintiffs are “consumers” as

defined by the FDCPA, 15 U.S.C. § 1692a (2).

a. Defendant, Budzik & Dynia, LLC, (Defendant) at all times relevant hereto,
is and was a limited liability company engaged in the business of collecting debt within the

State of Illinois and the Commonwealth of Pennsylvania and has a principal place of

business located at 4849 North Milwaukee Avenue, Suite 801, Chicago, IL 60630.

6. Defendant is engaged in the collection of debts from consumers using the
telephone and mail. Defendant, is a “debt collector” as defined by the FDCPA, 15 U.S.C.

§1692a(6).
IV. FACTUAL ALLEGATIONS
Ls In early February, 2012, Plaintiffs started to receive calls from Defendant
looking to collect a debt from someone named “Corrine DeMego”.

8. Defendant is calling a wrong number; Plaintiffs do not know who this

person is.
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9, Plaintiffs have resided at their current location with the same telephone

number for approximately forty (40) years.

10. On the first call, Defendant, left an automated message prompting the
recipient of the call to press one (1) if they were “Corrine DeMego” and two (2) if they

were not,

11. Despite Plaintiffs not answering the call, the automated message continued

on stating the full name of the Defendant and that they were calling in regards to a debt.

12. Defendant’s automated message went further stating that they expected

payment on account #673580 by the end of the week.

13. Defendant calling from 847-603-4523, continued to place automated calls

to Plaintiffs home that same day.

14. On or about February 3, 2012 at 9:58 am, Plaintiffs received another call

from Defendant looking for “Dionne DeMego”.

iS. Plaintiffs hit two (2) as prompted by the automated system that the calls

were in error, however the calls from Defendant continued.

16. Over the next few days, Plaintiffs received multiple hang-up calls from

Defendant at telephone number 847-603-4523.

17. Onor about February 6, 2012, Defendant called Plaintiffs in error again at

3:23 pm and 5:25pm.

18. On or about February 7, 2012, Plaintiffs received more calls from

Defendant at 10:26 am and 8:08 pm.
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19. On or about February 8, 2012, at 8:07 pm, Defendant placed yet another

automated call to Plaintiffs looking for “Corrine DeMego”.

20. Again, despite pressing two (2) as prompted by the recording to inform the

Defendant that they were calling the wrong number, the calls continued.

21. Onorabout February 9. 2012, Defendant called again and hung-up half

way through their automated voice mail message.

22, Plaintiffs were unable to call Defendant back, because their call back

number was cut off at the end of the recording.

23: The Defendant acted in a false, deceptive, misleading and unfair manner
when they engaged in conduct the natural consequences of which is to harass, oppress, or
abuse such person in connection with the collection of a debt.

24. At all times pertinent hereto, the conduct of Defendant, as well as their
agents, servants and/or employees, was malicious, intentional, willful, reckless, negligent
and in wanton disregard for federal and state law and the rights of the Plaintiff herein.

25. At all times pertinent hereto, Defendant, was acting by and through their
agents, servants and/or employees, who were acting with the scope and course of their
employment and under the direct supervision and control of Defendant, herein.

206. As a result of the conduct of Defendant, Plaintiff has sustained actual
damages, including, but not limited to, injury to Plaintiff's reputation, invasion of privacy,
damage to Plaintiff's credit, out-of-pocket expenses, physical, emotional and mental pain
and anguish and pecuniary loss and they will continue to suffer same for an indefinite time

in the future, all to their great detriment and loss.
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Zi. Defendant knew or should have known that their actions violated the
FDCPA. Additionally, Defendant, could have taken the steps necessary to bring their and
their agent’s actions within compliance of the FDCPA, but neglected to do so and failed to

adequately review those actions to insure compliance with the law.

COUNT I- FDCPA

28. | The above paragraphs are hereby incorporated herein by reference.
29. At all times relevant hereto, Defendant, was attempting to collect an alleged
debt which was not incurred by the Plaintiffs for personal, family or household purposes

and is a “debt” as defined by 15 U.S.C. § 1692a(5).

30. The foregoing acts and omissions constitute violations of the FDCPA,

including but not limited to, violations of 15 U.S.C. § 1692:

§§ 1692d: Any conduct the natural consequence of which is to

harass, oppress, or abuse any person

§§ 1692d(5): Caused the phone to ring or engaged any person in

telephone conversations repeatedly

$§ 1692e: Any other false, deceptive, or misleading
representation or means in connection with the debt

collection

§§ 1692e(10): Any false representation or deceptive means to

collect a debt or obtain information about a consumer

$§ 1692f: Any unfair or unconscionable means to collect or

attempt to collect the alleged debt
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WHEREFORE, Plaintiffs respectfully request that this court enter judgment in her

favor and against Budzik & Dynia, LLC, for the following:
a. Actual damages;
d. Statutory damages pursuant to 15 U.S.C. §1692k;

cS Reasonable attorney’s fees and costs of suit pursuant to 15 U.S.C. §1692k;

and

d. Such addition and further relief as may be appropriate or that the interests of

justice require.
COUNT Il

VIOLATIONS OF PENNSYLVANIA FAIR CREDIT EXTENSION
UNIFORMITY ACT- (FCEUA, 73 Pa. C:S. § 2270.1 et seq.)

31. Plaintiffs repeat, re-allege and incorporates by reference the foregoing

paragraphs.

32. The collection of a debt in Pennsylvania is proscribed by the Fair Credit
Extension Uniformity Act at 73 Pa. CS. § 2270.1 et_seg., (“FCEUA”) and the
Pennsylvania Unfair Trade Practices and Consumer Protection Law 73 Pa. C.S 201-1 et

seq. (“UTPCPL”). Defendant is a debt collector pursuant to 73 Pa. C.S. § 2270.3.

33. The alleged debt Defendant were attempting to collect is a debt as defined

by 73 Pa. C.S. § 2270.3.

34. | The FCEUA proscribes, inter_alia, engaging in any false, misleading or

deceptive representations when attempting to collect a consumer debt.
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a5. The actions of Defendant, as aforesaid, constitute false, misleading or

deceptive representations.

36. Violations of the FDCPA is a per_se violation of the FCEUA and the

UTPCPL.

37. By virtue of the violations of the law as aforesaid, and pursuant to the
FCEUA and UTPCPL, Plaintiffs are entitled to an award of actual damages, treble

damages, attorney’s fee and costs of suit.

WHEREFORE, Plaintiffs pray this Honorable Court enter judgment in their favor

against Defendant, and Order the following relief:
a, Actual damages;
b. Treble damages;
c. An award of reasonable attorneys fees and expenses and costs of court; and

d. Such additional relief as is deemed just and proper, or that the interests of

justice require.

COUNT Il
VIOLATIONS OF PENNSYLVANIA CONSUMER PROTECTION LAW
(“UTPCPL”), 73 Pa. C.S. § 201-1 et seq.

38. The foregoing paragraphs are incorporated herein by reference.
39. Plaintiffs and Defendant are “Persons” to 73 Pa. C.S § 201-2.

40. The UTPCPL proscribes, inter alia, engaging in any “unfair or deceptive

acts or practices”, either at, and prior to or subsequent to a consumer transaction.
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41. The actions of the Defendant, as aforesaid, constitute unfair acts or practices

under the UTPCPL, by way of the following, inter alia:

a. Defendant engaged in deceptive or fraudulent conduct which created a

likelihood of confusion or of misunderstanding, 73 Pa. C.S. § 201-2(xxi);

ec. Defendant failed to comply with the FDCPA and FCEUA which are per se

violations of the UTPCPL.

42. Asa direct and proximate result of the said actions, Plaintiffs have suffered

financial damages and other harm.

43. By virtue of the violations of law aforesaid and pursuant to the UTPCPL,
Plaintiffs are entitled to an award of actual damages, treble damages, attorney’s fees and

costs of suit.

WHEREFORE Plaintiffs pray this Honorable Court enter judgment in their favor

and against Defendant, and Order the following relief:

a. An Order declaring that Defendant violated the UTPCPL;

b. Actual damages;

E Treble damages;

d. An award of reasonable attorney’s fees and expenses and cost of suit; and
e. Such additional relief as is deemed just and proper, or that the interest of

justice may require.

COUNT IV -TCPA

44. The above paragraphs are hereby incorporated herein by reference.
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45. At all times relevant hereto, Defendant unlawfully, intentionally and

fraudulently violated the TCPA, 47 U.S.C. §227 et. seq. and 47 C.F.R. 64.1200 et. seq.

46. The foregoing acts and omissions constitute violations of the TCPA,

including but not limited to:

a. The Defendant used an automatic telephone dialing system that had
capacity to store or produce telephone numbers using random or
sequential number generation and dialed the telephone number

associated with the Plaintiffs.

b. The Defendant initiated telephone calls to Plaintiffs telephone using
artificial and prerecorded voice to deliver a message without the

prior consent of the Plaintiffs.

c, The Defendant initiated communication to the Plaintiffs using an
automatic dialer that was not in compliance with the technical and

procedural standards set forth by the TCPA.

WHEREFORE, Plaintiffs respectfully request that this court enter judgment in his

favor and against Defendant, and Order the following relief:

a. Actual damages;
b. Statutory damages;
Se Reasonable attorney’s fees and costs of suit pursuant to 15 U.S.C. §1692k;

and

d. Treble damages.
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COUNT V
INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

47. The above paragraphs are hereby incorporated herein by reference.

48, The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion
as, “One who intentionally intrudes...upon the solitude or seclusion of another, or his
private affairs or concerns, is subject to liability to the other for invasion of privacy, if the
intrusion would be highly offensive to a reasonable person.”

49, Pennsylvania recognizes Plaintiffs right to be free from invasions of
privacy, thus Defendant violated PA state law.

50. Defendant intentionally intruded upon Plaintiffs right to privacy to be
continually harassing Plaintiffs with frequent telephone calls, abusing Plaintiffs.

51. The telephone calls made by Defendant to Plaintiffs were so persistent and
repeated with such frequency as to be considered, “hounding the plaintiff’ and “a
substantial burden to his existence,” thus satisfying the Restatement of Torts, Second, §
652(b) requirement for an invasion of privacy.

af) The conduct of Defendant in engaging in the illegal collection activities
resulted in multiple invasions of privacy in such a way as would be considered highly
offensive to a reasonable person.

53. As a result of the intrusions and invasions, Plaintiffs are entitled to actual
damages in an amount to be determined at trial from Defendant.

54, Defendant’s acts were reckless, willful, and intentional and/or were done
with knowledge of their harmful effects towards Plaintiffs and as such Defendant is subject

to punitive damages.
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WHEREFORE, Plaintiffs respectfully prays that judgment be entered against the
Defendant for the following:

a. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) and O.R.C. §
1345.09(A);

b. Statutory damages pursuant to 15 U.S.C. § 1692k;

es Reasonable attorney’s fees and litigation expenses, plus costs of suit;

d. Three times the amount of Plaintiff's actual damages or two hundred
dollars, whichever is greater, pursuant to O.R.C. § 1345.09(B);

eS. Actual damages from Defendant for all the damage including emotional
distress suffered as a result of the intentional, reckless, and/or negligent FDCPA violations
and intentional, reckless, and/or negligent invasions of privacy in an amount to be
determined at trial for Plaintiffs;

t; Punitive damages; and

g. Such additional and further relief as may be appropriate or that the

interests of justice require.
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V. JURY DEMAND
Plaintiffs hereby demand a jury trial as to all issues herein.

Respectfully submitted,

WARREN LAW GROUP, LLC

Date: February 13, 2012 BY: 4/Bruce K. Warren bkw4066
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